Case: 6:09-cr-00016-KKC   Doc #: 192-9 Filed: 05/04/09   Page: 1 of 5 - Page ID#:
                                      775
Case: 6:09-cr-00016-KKC   Doc #: 192-9 Filed: 05/04/09   Page: 2 of 5 - Page ID#:
                                      776
Case: 6:09-cr-00016-KKC   Doc #: 192-9 Filed: 05/04/09   Page: 3 of 5 - Page ID#:
                                      777
Case: 6:09-cr-00016-KKC   Doc #: 192-9 Filed: 05/04/09   Page: 4 of 5 - Page ID#:
                                      778
Case: 6:09-cr-00016-KKC   Doc #: 192-9 Filed: 05/04/09   Page: 5 of 5 - Page ID#:
                                      779
